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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


WHITMAN-WALKER CLINIC, INC., et al.,

                        Plaintiffs,

                v.                                  Case No. 1:20-cv-01630 (JEB)

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                        Defendants.


    PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE THE
    ADMINISTRATIVE RECORD, TO HOLD IN ABEYANCE DEFENDANTS’
  PARTIAL MOTION TO DISMISS, AND TO SET A CONSOLIDATED SCHEDULE
  FOR FILING AND BRIEFING MOTIONS TO DISMISS AND/OR MOTIONS FOR
                        SUMMARY JUDGMENT

       Plaintiffs, through undersigned counsel, hereby move the Court for an order that

(i) compels Defendants to produce the administrative record in accordance with Local Civil Rule

7(n); (ii) holds Defendants’ September 29, 2020 partial motion to dismiss in abeyance or dismisses

the motion without prejudice; and (iii) sets a consolidated schedule for filing and briefing motions

to dismiss and/or cross-motions for summary judgment after Defendants complete production of

the administrative record and Plaintiffs have an adequate opportunity to review. Alternatively, if

the Court declines to hold Defendants’ partial motion to dismiss in abeyance or to dismiss the

motion without prejudice, Plaintiffs respectfully request that their response to Defendants’ partial

motion to dismiss be due 45 days from the date the Court decides this motion.

       Defendants filed a partial motion to dismiss on September 29, 2020 that implicates and

largely relies upon the agency’s decision-making contained within the administrative record, yet
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they failed to file a certified list of the contents of the administrative record, as required under

Local Civil Rule 7(n), and have refused to produce the administrative record.

       Pursuant to Local Civil Rule 7(m), prior to filing this motion, counsel for Plaintiffs

conferred with Defendants’ counsel in a good faith effort to resolve this issue without Court

intervention. (See Declaration of Omar Gonzalez-Pagan (“Decl.”) ¶¶ 16-19 & Ex. 4.) On October

2, 2020, counsel for Defendants confirmed that Defendants do not intend to produce the

administrative record. (Decl. Ex. 4 at 1.)

                                       INTRODUCTION

       Plaintiffs have made repeated, good faith efforts to reach an agreement with Defendants on

production of the administrative record since Plaintiffs filed their Complaint on June 22, 2020.

The record should have been and usually is produced as a matter of course in Administrative

Procedure Act (“APA”) cases. Plaintiffs also have sought a joint briefing schedule that would

allow for the orderly resolution of the issues in their Complaint. Defendants repeatedly have

refused to agree to any schedule. And now, Defendants unilaterally have decided that they do not

need to produce the administrative record, even though Plaintiffs have challenged the provisions

in the Revised Rule as arbitrary and capricious under the APA and Defendants’ motion to dismiss

relies on the purported rationale and decision-making process of Defendant U.S. Department of

Health and Human Services (“HHS”) to defend the rulemaking.

       Local Civil Rule 7(n) requires a defendant to file a certified list of the contents of the

administrative record simultaneously with the filing of a dispositive motion unless the Court orders

otherwise. Local Civil Rule 7(n) also contemplates the timely production of the administrative

record so that the parties can rely on the record in support or opposition of any dispositive motion

and submit relevant portions to the Court. Courts in this District have recognized the particular



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importance of production of the administrative record in cases where, as here, a party challenges

agency action as arbitrary and capricious. An agency cannot withhold the very record needed to

make that determination.

        Defendants should not be allowed to hide behind procedural maneuvers to avoid their basic

obligation to produce the administrative record while moving to dismiss Plaintiffs’ Complaint on

grounds that implicate the administrative record. For instance, Defendants’ ripeness arguments in

their motion to dismiss rely on the preamble to the Revised Rule and HHS’s decision-making

process in eliminating the definition of “on the basis of sex” and other changes to the 2016 Final

Rule. And Defendants repeatedly point to HHS’s purported rationales and decision-making

process underlying the Revised Rule in claiming that Plaintiffs have failed to state a claim under

the APA that HHS acted arbitrarily and capriciously in promulgating the Revised Rule. Plaintiffs

cannot counter these arguments and the Court cannot evaluate properly Plaintiffs’ claims without

the administrative record. The Court has the authority to compel production of the administrative

record under Local Civil Rule 7(n). Plaintiffs respectfully request that it do so here in the interests

of fairness and justice.

        To promote judicial economy and efficiency, Plaintiffs also request that the Court hold

Defendants’ motion to dismiss in abeyance or dismiss it without prejudice and set a consolidated

briefing schedule for motions that allows Plaintiffs sufficient time to review the administrative

record. This will avoid piecemeal resolution of the issues and properly defer consideration of

whether Defendants acted arbitrarily and capriciously until both parties – not only Defendants –

have had an adequate opportunity to review the record that informed HHS’s action.

        Defendants will suffer no prejudice if they are required to turn over the record now and the

parties proceed to brief cross-motions with the benefit of that record. First, Defendants concede



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that several of Plaintiffs’ claims will continue even after adjudication of Defendants’ partial motion

to dismiss. (See ECF No. 57-1 at 2.) Given that Defendants have not sought dismissal of the entire

Complaint, they eventually will have to produce the record. Second, Defendants already have

been ordered to produce the administrative record regarding the Revised Rule by October 16, 2020

in a different case. See Order Regulating Motion Practice and Record Procedures, New York v.

United States Dep’t of Health & Human Servs., No. 1:20-cv-05583-AKH (S.D.N.Y. Sept. 22,

2020) (ECF No. 93), attached as Exhibit 6 to the Declaration of Omar Gonzalez-Pagan.

       There is no reasonable explanation for Defendants’ continued refusal to produce the

administrative record in this case.

                        RELEVANT PROCEDURAL BACKGROUND

       Plaintiffs briefly summarize those aspects of the procedural history of the challenged

rulemaking and this litigation relevant to their attempts to obtain the administrative record without

Court intervention and Plaintiffs’ need for the record to support their claims.1

       On June 19, 2020, HHS published a Rule in the Federal Register rolling back numerous

anti-discrimination provisions in an Obama-era rule (the “2016 Final Rule”) that implemented

Section 1557 of the Affordable Care Act, 42 U.S.C. § 18116(a). See Nondiscrimination in Health

and Health Education Programs or Activities, Delegation of Authority, 85 Fed. Reg. 37,160 (June

19, 2020) (to be codified at 42 C.F.R. pts. 438, 440, & 460 and 45 C.F.R. pts. 86, 92, 147, 155, &

156) (the “Revised Rule”). On June 22, 2020, Plaintiffs filed a Complaint alleging, among other

things, that HHS had acted arbitrarily and capriciously in violation of the APA by repealing aspects

of the 2016 Final Rule based on the government’s failed litigation position in Bostock v. Clayton



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 The procedural history of the challenged rulemaking and this litigation is set out in detail in the
Court’s Memorandum Opinion, dated September 2, 2020. (See ECF No. 56 at 9-14.)

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County, 140 S. Ct. 1731 (2020), and incorporating Title IX’s religious exemption into the Revised

Rule when the statute has no such religious exemption and HHS had previously determined that

Title IX’s religious exemption was not appropriate in the health care context.

       On July 7, 2020 – before moving for preliminary relief – Plaintiffs reached out to the

government to inquire whether Defendants would agree to delay the effective date of the Revised

Rule, produce the administrative record, and set an expedited schedule for filing cross-motions for

summary judgment in lieu of Plaintiffs moving for a preliminary injunction. (See Decl. ¶ 5 & Ex.

1.) Defendants took the request under advisement.

       Because the Revised Rule was to go into effect on August 18, 2020, Plaintiffs informed

Defendants on July 8, 2020 that they would need to move forward with their motion so that it could

be briefed fully prior to the effective date. Plaintiffs reiterated, however, that they would be willing

to hold the motion in abeyance or convert the motion into a motion for summary judgment if HHS

later agreed to their proposal. (Decl. Ex. 1 at 2-3.) After Plaintiffs filed their motion, they followed

up again with Defendants about the possibility of postponing the effective date of the Revised Rule

and an agreement on a consolidated briefing schedule in lieu of adjudication of the motion for

preliminary injunction. (Id. at 2.) On July 17, 2020, Defendants informed Plaintiffs that HHS

would not agree to stay the effective date of the Revised Rule. (Id. at 1.)

       On July 29, 2020 – shortly before the hearing on Plaintiffs’ motion – Plaintiffs again

approached Defendants with a proposal to expedite production of the administrative record by

aligning production in this case with the schedule for production of the record in other pending

actions challenging the Revised Rule. (Decl. Ex. 2.) Plaintiffs discussed this proposal with

Defendants by telephone on August 6, 2020. (Decl. ¶ 11.) Defendants said they would consider

the proposal, but they never responded to Plaintiffs. (Id.)



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       After Plaintiffs’ motion for preliminary injunction was fully briefed and heard by the Court,

on August 21, 2020 – four days before Defendants’ August 25, 2020 deadline to respond to the

Complaint – Defendants approached Plaintiffs to request an extension of their response date to

allow them to review the Court’s forthcoming order on the Plaintiffs’ motion before responding.

(Decl. Ex. 3.) Plaintiffs responded by email and later reiterated during a call that any extension

would need to be tied to an agreement to produce the administrative record within a reasonable

time. (Decl. ¶ 12 & Ex. 3.) Plaintiffs proposed that Defendants produce the administrative record

on September 18, 2020, the date it was due in the related action, Washington v. United States Dep’t

of Health & Human Servs., No. 1:20-cv-01105 (W.D. Wash. July 16, 2020). (Decl. ¶ 13.) (See

also Plaintiffs’ Resp. to Defs.’ Motion for Extension of Time (ECF No. 52) at 2.)

       Defendants rejected Plaintiffs’ proposal and on August 21, 2020, they filed a motion to

extend their time to respond to the Complaint to twenty-one days after the Court decided the

motion for preliminary relief. (ECF No. 51 at 1.) In seeking the extension, Defendants asserted

that they “have been busy drafting briefs in this and related cases” and “have not had sufficient

time to work on their response to plaintiffs’ complaint.” Defendants also explained their response

may be affected by the Court’s ruling on the pending motion for preliminary relief. (Id.)

       Plaintiffs responded to Defendants’ motion for an extension on August 25, 2020,

explaining they opposed any extension that did not include a firm date for Defendants to produce

the administrative record, as Local Civil Rule 7(n)(1) ties this obligation to the filing of a

responsive pleading. (ECF No. 52. at 1.) Plaintiffs explained it was critical to begin review of the

administrative record as soon as possible, particularly because the challenged Revised Rule

became effective on August 18, 2020. (See id.)




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       On September 2, 2020, the Court granted Plaintiffs’ pending motion for preliminary

injunction in part and enjoined Defendants from enforcing their repeal of the 2016 Final Rule’s

definition of “on the basis of sex” as it pertained to “sex stereotyping” and the Revised Rule’s

incorporation of Title IX’s religious exemption. (See ECF No. 55.) In a 101-page Memorandum

Opinion, the Court explained that Plaintiffs are likely to succeed on their claims that HHS acted

arbitrarily and capriciously in eliminating “sex stereotyping” from the 2016 Final Rule’s

definition of “on the basis of sex” (see ECF No. 56 at 51-61), and HHS acted arbitrarily and

capriciously in incorporating Title IX’s religious exemption into Section 1557’s non-

discrimination scheme (id. at 62-67). The Court thereafter entered a minute order extending

Defendants’ deadline to respond to the Complaint until September 29, 2020.

       On September 29, 2020, Defendants filed a partial motion to dismiss. Defendants’ motion

challenges Plaintiffs’ standing to assert certain claims and also raises new arguments about

“ripeness.” Defendants also contend Plaintiffs have failed to state a claim upon which relief may

be granted because “HHS’s reasoned explanation for the policy changes contained in the 2020

Rule within its authority more than adhered to the standards for reasoned decisionmaking required

by the Administrative Procedure Act.” (ECF No. 57-1 at 1.)

       Because Defendants did not file a certified list of the contents of the administrative record

simultaneously with the filing of their motion, as Local Civil Rule 7(n)(1) requires, and they did

not move to be relieved from the requirements of the rule, on September 30, 2020, Plaintiffs

reached out to Defendants to inquire when they expected to produce the administrative record and

the certified list of its contents. (Decl. Ex. 4 at 2-3.) Defendants responded the same day, stating

that the “government does not believe Local Rule 7(n)(1) requires it to produce and file a certified

list of the contents of the administrative record at this time, before the government has filed an



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answer or moved for summary judgment.” (Id. at 2.) Defendants suggested their motion did not

implicate the contents of the administrative record and, therefore, they did not need to produce it.

(Id.)

        Plaintiffs reached out again to Defendants on October 1, 2020, explaining why Defendants

lacked a sufficient legal basis to withhold the record and informing them that Plaintiffs would

move to compel if Defendants did not agree to produce the record. (Id. at 1.) On October 2, 2020,

Defendants reiterated that “the government does not intend to produce the [administrative record]

at this time.” (Id.)

        Defendants have not filed a motion for relief from Local Civil Rule 7(n).

                                             ARGUMENT

I.      DEFENDANTS SHOULD BE ORDERED TO PRODUCE THE
        ADMINISTRATIVE RECORD BECAUSE THEIR MOTION TO DISMISS
        CANNOT BE RESOLVED PROPERLY WITHOUT REFERENCE TO THE
        RECORD

        Local Civil Rule 7(n) is explicit. In cases “involving the judicial review of administrative

agency actions [under the Administrative Procedure Act (“APA”)], unless otherwise ordered by

the Court, the agency must file a certified list of the contents of the administrative record with the

Court within 30 days following service of the answer to the complaint or simultaneously with

the filing of a dispositive motion.” L. Civ. R. 7(n)(1) (emphasis added). Local Civil Rule 7(n)(1)

further provides that “[t]hereafter, counsel shall provide the Court with an appendix containing

copies of those portions of the administrative record that are cited or otherwise relied upon in any

memorandum in support of or in opposition to any dispositive motion.” Id. (emphasis added).

The rule thus contemplates that the agency will produce the administrative record in a timely

fashion so that the opposing party may rely on it in opposing the motion, regardless of whether the

agency relied on the record in its motion.


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       Defendants have flouted the clear mandate of Local Civil Rule 7(n). Defendants filed a

motion to dismiss, which unquestionably is a dispositive motion. See, e.g., Dorsey v. Enter.

Leasing, 78 F. Supp. 3d 245, 246 (D.D.C. 2015) (a “motion to dismiss is a dispositive motion”).

Yet, Defendants failed to file a certified list of the contents of the administrative record

simultaneously with the filing of their motion, as required under Local Civil Rule 7(n)(1), and they

refuse to produce the administrative record.

       Local Civil Rule 7(n) requires a court order to be relieved from the obligations that it

imposes. Indeed, in the principal case upon which Defendants rely in support of their refusal to

produce the administrative record – Connecticut v. United States Dep’t of the Interior, 344 F. Supp.

3d 279, 294 at n.11 (D.D.C. 2018) – the government moved to waive compliance with the Local

Civil Rule. (See Decl. Ex. 4 at 2.) But Defendants did not file a motion. Instead, they determined

unilaterally that they are not obligated to produce the administrative record to Plaintiffs.

       Defendants suggest their position is consistent with the approach the government has taken

in other cases in this District. (See Decl. Ex. 4 at 2.) In other cases before this Court, however,

HHS has agreed to produce the administrative record prior to dispositive motion practice. See,

e.g., Gresham v. Azar, No. 18-cv-1900-JEB (D.D.C. Sept. 27, 2018) (ECF No. 23) (joint briefing

schedule proposing deadlines for production of the administrative record and motions for summary

judgment in lieu of an answer); Stewart v. Azar, No. 18-cv-152-JEB (D.D.C. Mar. 8, 2018) (ECF

No. 27) (joint motion to set briefing schedule for motions for preliminary relief and motions to

dismiss or for summary judgment, stating that the government “has acceded to Plaintiffs’ request

to expedite the certification of the administrative record” and has produced the record to plaintiffs).

       Defendants also claim that the administrative record needs to be produced only when a

motion to dismiss “implicates the contents of the administrative record.” (Decl. Ex. 4 at 2.)



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Defendants suggest, without stating directly, that their motion to dismiss does not implicate the

contents of administrative record. (Id.) But the record demonstrates otherwise.

       Plaintiffs recognize that in some circumstances, a motion to dismiss may raise purely legal

issues that can be resolved without reference to the administrative record. See, e.g., Vargus v.

McHugh, 87 F. Supp. 3d 298, 301 (D.D.C. 2015); Zemeka v. Holder, 963 F. Supp. 2d 22 (D.D.C.

2013). In such cases, judicial economy may favor permitting the agency to delay producing the

administrative record, as a ruling in its favor would obviate the need to make such a production.

       But this is not such a case.       Defendants’ motion to dismiss directly implicates the

administrative record. First, despite stating that they are not seeking dismissal of Plaintiffs’

challenge to HHS’s decision to eliminate the definition of “on the basis of sex” (ECF No. 57-1 at

1-2), Defendants nevertheless argue Plaintiffs’ challenge is not ripe because “the 2020 Rule merely

replaces the 2016 Rule’s explicit definition of ‘on the basis of sex’ by hewing to the text of Section

1557,” and “in the preamble to the 2020 Rule, HHS recognized that, ‘to the extent a Supreme

Court decision is applicable in interpreting the meaning of a statutory term, the elimination of a

regulatory definition of such term would not preclude application of the Court’s construction.’”

(Id. at 10 (quoting 85 Fed. Reg. at 37, 168).)

       As the Court recognized in ruling on Plaintiffs’ motion for preliminary injunction,

Defendants’ insistence that the Revised Rule merely “regurgitates the plain, unobjectionable text

of Section 1557” is beside the point. (ECF No. 56 at 60.) Plaintiffs’ challenge to Defendants’

elimination of the definition of “on the basis of sex” is based on the agency’s change in position

and its decision to repeal a prior regulatory position. Under such circumstances, the agency is

required to provide a reasoned analysis and a satisfactory explanation for the change. (Id. at 60-

61.) The Court thus “must assess the reasonableness of the agency’s explanation for ---
                                                                                    why it made



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the change” and is obligated to “‘examin[e] the reasons’ underlying HHS’s action.” (Id. at 61

(quoting Judulang v. Holder, 565 U.S. 42, 53 (2011).) To do so, both Plaintiffs and the Court need

the administrative record.

       Second, Defendants ask the Court to find, as a matter of law, that HHS did not act

arbitrarily and capriciously. (See, e.g., ECF No. 57-1 at 16-17, 21, 24.) For example, HHS argues

that its decision to eliminate the prohibition on categorical coverage exclusions in the Revised

Rule was not arbitrary and capricious. (Id. at 16-17.) HHS claims it “consulted scientific studies,

government reviews, and comments from a host of medical professionals regarding treatment for

gender dysphoria,” and that it “reasonably determined that ‘the medical community is divided on

many issues related to gender identity, including the value of various gender-affirming treatments

for gender dysphoria (especially for minors).’” (Id. at 17 (quoting Whitman-Walker Clinic, Inc. v.

United States Dep’t of Health & Human Servs., No. 1:20-cv-01630-JEB, 2020 WL 5232076, at

*29 (D.D.C. Sept. 2, 2020) (citing 85 Fed. Reg. at 37,187, 37,196-98)).) Likewise, with respect

to the elimination of the notice requirements and access to language protections, HHS contends it

“provided an array of reasons for its change in position,” including its determination “that the costs

and burdens imposed by the notice and tagline requirements were ‘substantially larger than

originally anticipated.’” (Id. (quoting Whitman-Walker, 2020 WL 5232076, at *32 (quoting 84

Fed. Reg. at 27, 587)).)

       These are precisely the types of arguments that require the administrative record to resolve.

It is well established that “when courts must determine whether the adjudicatory process was

reasonable and whether the decision was consistent with Congressional intent[,] they must look to

the administrative record.” Vargus, 87 F. Supp. 3d at 301 (internal quotations and citation

omitted). The “function of the district court [in such cases] is to determine whether or not as a



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matter of law the evidence in the administrative record permitted the agency to make the decision

it did.” Zemeka, 963 F. Supp. 2d at 24 (quoting Cottage Health Sys. v. Sebelius, 631 F. Supp 2d

80, 89-90 (D.D.C. 2009)). In so doing, the court “should have before it neither more nor less

information than did the agency when it made its decision.” Boswell Memorial Hosp. v. Heckler,

749 F.2d 788, 792 (D.C. Cir. 1984). “Without the administrative record, the court is unable to

perform this function.” Swedish Am. Hosp. v. Sebelius, 691 F. Supp. 2d 80, 88 (D.D.C. 2010).

Courts in this District therefore regularly decline to address agencies’ arguments that they

complied with the APA without the benefit of the full administrative record. See Zemeka, 963

F. Supp. 2d at 26; Swedish Am. Hosp., 691 F. Supp. 2d at 89; Vargus, 87 F. Supp. 3d at 302-03;

Verastegui v. McAleenan, No. 18-cv-2358-TJK, 2019 WL 2550385, at *2 (D.D.C. June 20, 2019);

see also District Hosp. Partners, L.P. v. Sebelius, 794 F. Supp. 2d 162, 171-73 (D.D.C. 2011)

(denying motion to dismiss in part because agency had not yet produced the administrative record);

Banner Health v. Sebelius, 797 F. Supp. 2d 97, 113-14 (D.D.C. 2011) (same).

        Without the administrative record, the Court cannot adequately evaluate whether HHS

complied with the APA’s procedural mandates based solely on what HHS chose to cite in the

preamble to the Revised Rule. And Plaintiffs are entitled to the full administrative record as well

to develop their claims. Where “one party might be unaware of some parts of the record, failure

to produce the Record in its entirety would produce ‘asymmetry in information [that] undermines

the reliability of a court’s review upon those portions of the record cited by one party or the other.’”

Vargus, 87 F. Supp. 3d at 302 (quoting Boswell Meml. Hosp., 749 F.2d at 793). Among other

things, to “review less than the full administrative record might allow a party to withhold

evidence unfavorable to its case” Id. at 301 (internal citation and quotation marks omitted).




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       Experience also demonstrates that neither the public nor the courts can take this HHS at its

word when it comes to its characterization of the administrative record or the justifications for its

actions. Recent challenges to HHS’s promulgation of a different rule purporting to interpret and

provide for the implementation of statutory provisions regarding the rights of conscience-based

objectors in the health care arena – the “denial-of-care” cases – demonstrate the importance of

producing the full administrative record. In promulgating the rule, HHS cited “a significant

increase” in complaints alleging violations of conscience provisions as demonstrating confusion

and the need for agency action. New York v. United States Dep’t of Health & Human Servs., 414

F. Supp. 3d 475, 541 (S.D.N.Y. 2019) (quoting 84 Fed. Reg. at 23, 175). In the preamble to the

rule, HHS specifically stated that there had been 34 such complaints between November 2016 and

January 2018, and 343 such complaints during fiscal year 2018. Id. The administrative record,

however, revealed that HHS’s claim of a significant increase in such complaints was

“demonstrably false.” Id. Ultimately, HHS conceded that only approximately 20 complaints

implicated any of the conscience provisions. Id. at 542. This conceded fact was “fatal to HHS’s

stated justifications for the Rule.” Id. Defendants’ representations concerning and justifications

for the Revised Rule may be similarly flawed or misleading. However, neither Plaintiffs nor the

Court can test Defendants’ assertions in the preamble to the Revised Rule without the full

administrative record.

       Plaintiffs are entitled to the full administrative record, and the Court cannot resolve

Defendants’ motion to dismiss properly without it. Defendants should be ordered to produce

promptly the full administrative record.




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II.    A CONSOLIDATED BRIEFING SCHEDULE FOR DISPOSITIVE MOTIONS IS
       WARRANTED

       Because the administrative record is necessary to resolve Defendants’ motion to dismiss,

the Court should order production of the administrative record, hold Defendants’ motion to dismiss

in abeyance or deny it without prejudice, and set a consolidated briefing schedule for motions to

dismiss and/or motions for summary judgment with appropriate citations to the record.

       Summary judgment “is the proper mechanism for deciding, as a matter of law, whether an

agency action is supported by the administrative record and consistent with the APA standard of

review.” Zemeka, 963 F. Supp. 2d at 24, 26 (internal quotation marks omitted). As courts have

recognized, wading “into the details” of an agency’s decision-making process on a motion to

dismiss only “invites error.” Banner Health, 797 F. Supp. 2d. at 114.

       Substantial overlap exists between the legal issues to be decided on a motion to dismiss

and a motion for summary judgment in APA cases such as this one. As Defendants informed the

district court in a separate challenge to the Revised Rule, the Court should permit consolidated

briefing on any motions to dismiss and motions for summary judgment “to reduce the duplicative

briefing that would substantially overlap in those two separate sets of briefing.” (See Decl. Ex. 5

at 7.) It is typical for courts to set forth a consolidated briefing schedule for dispositive motions

after production of the administrative record. See, e.g., Gresham v. Azar, No. 18-cv-1900-JEB

(D.D.C. Sept. 27, 2018); Stewart v. Azar, No. 18-cv-152-JEB (D.D.C. Mar. 8, 2018); New York v.

United States Dep’t of Health & Human Servs., No. 20-cv-5583-AKH (S.D.N.Y. Sept. 22, 2020).

       Although Defendants also challenge Plaintiffs’ standing to pursue a subset of their claims,

judicial economy favors addressing Defendants’ challenges to standing at the same time that it

addresses Defendants’ ripeness challenges and the merits of HHS’s administrative action. As the

Court’s ruling on Plaintiffs’ motion for preliminary relief indicates, these issues are substantially


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intertwined and would benefit from joint adjudication rather than piecemeal rulings. See Alliance

for Envtl. Renewal, Inc. v. Pyramid Crossgates Co., 436 F.3d 82, 87-88 (2d Cir. 2006) (observing

that district courts have discretion to determine the appropriate means to resolve standing

challenges and may defer ruling until the merits stage); Brady Campaign to Prevent Gun Violence

v. Salazar, 612 F. Supp. 2d 1, 29 n.18 (D.D.C. 2009) (declining to resolve the merits of Plaintiffs’

claims in the context of standing, noting that where jurisdictional issues are inextricably

intertwined with merits of the case, a court usually should defer until the merits are heard). In

addition, even if Defendants were to prevail on their challenges to standing, a number of claims

would survive for briefing on summary judgment. Addressing the standing issues first thus would

not result in any appreciable gains in judicial efficiency.

III.   IF THE COURT DENIES THIS MOTION, PLAINTIFFS REQUEST THAT
       THEIR RESPONSE TO DEFENDANTS’ PARTIAL MOTION TO DISMISS BE
       DUE 45 DAYS FROM THE DATE THE COURT DECIDES THE MOTION

       If the Court declines to hold Defendants’ partial motion to dismiss in abeyance or to dismiss

the motion without prejudice, Plaintiffs respectfully request that their response to Defendants’

partial motion to dismiss be due 45 days from the date the Court decides this motion. As the Court

is aware, the Revised Rule is complex and multi-faceted, and Plaintiffs represent a broad coalition

of LGBTQ health care providers, organizations, and service providers, all of whom are spending

a significant amount of their resources to combat the COVID-19 pandemic while simultaneously

fighting Defendants’ efforts to diminish access to health care through the Revised Rule.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court compel Defendants

to produce the administrative record, hold Defendants’ partial motion to dismiss in abeyance or

dismiss the motion without prejudice, and order a consolidated briefing schedule for dispositive

motions. Alternatively, if the Court declines to hold Defendants’ partial motion to dismiss in

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abeyance or to dismiss the motion without prejudice, Plaintiffs respectfully request that their

response to Defendants’ partial motion to dismiss be due 45 days from the date the Court decides

this motion.


 Dated: October 6, 2020                              Respectfully submitted,

 LAMBDA LEGAL DEFENSE                                STEPTOE & JOHNSON LLP
 AND EDUCATION FUND, INC.

 By: /s/ Omar Gonzalez-Pagan                         By: /s/ Laurie Edelstein

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